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                        UNITED STATES DISTRICT COURT
                           Northern District of California
                                    CRIMINAL MINUTES

Date: August 2, 2023                                                       Time: 00:56

Judge: Jacqueline Scott Corley

Case No.: 22-cr-00426-JSC-1

Case Name: United States of America v. David Wayne Depape
                                       [x] Present [ ] Not Present [x] In-Custody & Remanded

Attorney for United States: Helen Gilbert/Laura Vartain/Kyle Waldinger
Attorney for Defendant: Todd Borden/Angela Chuang

Deputy Clerk: Ada Means                                      Court Reporter: Stephen Franklin



                                       PROCEEDINGS

Defendant's Motion to Access and Inspect Crime Scene (Dkt. No. 55) & Status Conference re:
jury questionnaire held. The motion was argued, submitted, and taken under submission. The
pretrial conference set for October 25, 2023 is continued to October 26, 2023 at 11:00 a.m. Jury
selection will remain on calendar for November 6, 2023 and the first day of trial is advanced to
November 9, 2023. The parties to submit a draft of the jury questionnaire by September 7, 2023.
The matter is continued to September 27, 2023 at 10:00 a.m. for further status re: jury
questionnaire.




EXCLUDABLE DELAY:
Category: Effective preparation of counsel.
Begins: July 19, 2023
Ends: November 6, 2023
